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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                       PLAINTIFF

vs.                                    No. 4:11cr211-JM-11
                                       No. 4:15cv63-JM

ANGELA WALTON                                                                  DEFENDANT

                                              ORDER

       Pending is Defendant’s Motion to Vacate, Set Aside, or Correct Sentence under 28

U.S.C. §2255 (Docket No. 442). The Government responded to the motion by filing a Motion to

Dismiss the §2255 motion as being untimely (Docket No. 446).

       A one-year period of limitation applies to a motion for relief under §2255. The one-year

statute of limitation may be equitably tolled “only if [the movant] shows ‘(1) that he has been

pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his way’ and

prevented timely filing.” Holland v. Florida, 560 U.S. 631, 130 S.Ct. 2549, 2562, 177 L.Ed.2d

130 (2010) (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418, 125 S.Ct. 1807, 161 L.Ed.2d 669

(2005)) (applicable to section 2254 petitions); see also United States v. Martin, 408 F.3d 1089,

1093 (8th Cir.2005) (applying same rule to section 2255 motions).

       Angela Walton’s Judgment became final when the Judgment and Commitment Order was

entered on May 29, 2013. The motion to vacate was not filed until January 26, 2015. A review

of the motion to vacate does not show that any basis exists to apply equitable tolling to the one-

year period of limitation. Defendant stated that she asked her counsel about the appeal process

but it was not explained to her; she also stated that her counsel failed to file a notice of appeal

when she requested one.
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      For these reasons, Defendant’s Motion to Vacate, Set Aside, or Correct Sentence under

28 U.S.C. §2255 (Docket No. 442) is DENIED, and the Government’s Motion to Dismiss

(Docket No. 446) is GRANTED.


             IT IS SO ORDERED this 5th day of February, 2015.


                                          ________________________________________
                                          James M. Moody Jr.
                                          United States District Judge
